444 F.2d 278
    In the Matter of O. J. McCullough, Debtor in Proceedings for an Arrangement Under Ch. XI in Bankruptcy.O. J. McCULLOUGH, Appellant,v.Michael CRAWFORD, Appellee.
    No. 30949 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    June 16, 1971.
    Rehearing Denied August 6, 1971.
    
      Appeal from the United States District Court for the Southern District of Texas, Ben C. Connally, Chief Judge.
      Fred W. Moore, Harry J. Lawson, Houston, Tex. for O. J. McCullough, appellant.
      Joe G. Fender, Houston, Tex., for Michael Crawford, appellee.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    
      1
      Affirmed. See Local Rule 21.1 St. Regis Paper Co. v. Jackson, 369 F.2d 136 (5th Cir. 1966); Rollins Construction Co. v. Hoffman, 390 F.2d 660 (5th Cir. 1968); cf. In re Mutual Leasing Corp., 424 F.2d 999 (5th Cir. 1970).
    
    
      
        Notes:
      
      
        *
         Rule 18, 5th Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York, et al., 5 Cir. 1970, 431 F.2d 409, Part I
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    